
PER CURIAM.
Upon examination of the record-on-appeal in the instant case it appears that the appellant is attempting to appeal to this court an unsigned Circuit Court Minute Book entry as a final judgment.
This court held in Egantoff v. Herring, Fla.App.1965, 177 So.2d 260, that such a Minute Book entry was not a final judgment and therefore, non-appealable.
The Egantoff holding was upheld by the Supreme Court of Florida in State of Florida ex rel. Herring v. Allen et al., opinion filed May 25, 1966, 189 So.2d 363.
For the reasons stated, this appeal is dismissed ex mero motu.
ALLEN, C. J., HOBSON, J., and HOB-SON, T. FRANK, Sr., Associate Judge, concur.
